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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW HAMPSHIRE

 NATIONAL EDUCATIONAL
 ASSOCIATION; et al.,

              Plaintiffs,

 v.                                                    Case No. 1:25-cv-00091-LM

 UNITED STATES DEPARTMENT OF
 EDUCATION; et al.,

              Defendants.


                   [PROPOSED] ORDER GRANTING
 PLAINTIFFS’ EMERGENCY MOTION FOR TEMPORARY RESTRAINING ORDER

       After careful consideration of the parties’ submissions and the applicable law, the Court

GRANTS Plaintiffs’ Motion for Temporary Restraining Order.

       The Court hereby finds that the Plaintiffs have a demonstrated the following: a likelihood

of success on the merits of their claims; that the Plaintiffs are likely to suffer irreparable harm if a

temporary restraining order is not issued; that the potential harm to the Plaintiffs if a temporary

restraining order is not issued outweighs the potential harm to the Defendants if such an order is

issued; and that the issuance of a temporary restraining order is in the public interest.

       Pursuant to Federal Rule of Civil Procedure 65(b) and Section 705 of the Administrative

Procedure Act, 5 U.S.C. § 705, this Court ORDERS as follows:

       Defendants United States Department of Education; Linda M. McMahon, in her official

capacity as Secretary of the Department of Education; Craig Trainor, in his official capacity as

Acting Assistant Secretary for Civil Rights, Department of Education; and their agents, employees,

representatives, successors, and any other person acting directly or indirectly in concert with them,

are temporarily enjoined from implementing the United States Department of Education (ED)’s

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April 3, 2025 Certification Requirement and from taking any adverse action on the basis of state

and local education agencies’ responses or lack thereof.

       Defendants are further enjoined from all enforcement and implementation of the Dear

Colleague Letter until the Court renders a decision on the Motion for Preliminary Injunction.

       The Court further waives the requirement for security under Fed. R. Civ. P. 65(c).

       This Order shall take effect immediately and shall remain in effect until further order of

the Court.



SO ORDERED this ____day of 2025,

                                                    ____________________________
                                                    Landya B. McCafferty
                                                    Chief United States District Court Judge




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